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            UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF COLORADO

                                      Minutes of Proceeding

 June 10, 2019                                                   Honorable Michael E. Romero, Presiding
                                                                                          Courtroom C
 In re:
                                                                               Case No. 17-17630 MER
 MATTHEW CURTIS WITT
                                                                                             Chapter 7
    Debtor.

 Appearances:

 Trustee                                               Counsel
 Debtor                                                Counsel    James Anderson
 Creditor      Nicole Witt, et al.,                    Counsel    Kenneth Buechler

Proceedings:

Motion for Order to Show Cause to Noel Lane


Orders:

The boxes of documents must be made available to all parties for 14 more days. The parties need to
arrange the terms and contact the court when arrangements for access are made and delivery has
occurred.


The motion for contempt is denied without prejudice.


                                                          BY THE COURT:
                                                          KENNETH S. GARDNER, CLERK



                                                          By:_____________________________
                                                             Deputy Clerk
